Case 2:04-cr-20471-BBD Document 91 Filed 08/23/05 Page 1 of 6 Pagel 95
UN|TED STATES DlSTR|CT COURT

D.G.
WESTERN DlSTR|CT OF TENNESSEE F“'ED B¥ "“`
MEMPH|S DlVlSlON 05 mg 23 m 63 53
UN|TED STATES OF AMERICA MWQ M GOULD
CLER‘¢£ US. lfi§TRiCT COUT
v_ 2:04cR20471-0W ct ;l:.;_ ;.=;-i£i,l’ri$
MARIA BURKS Apri| Goode, FPD
Defense Attorney

200 Jefferson Avenue, Ste. 200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or Af‘ter November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on May 31, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Title & Section Min§§ Offense Number
Conc|uded
18 U.S.C. § 656 Aiding & Abetting in the 02/02/2004 1

Theft/Embezzlement of Funds by a
Bank Emp|oyee

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 12/18/1976 August 22, 2005
Deft’s U.S. Marshal No.: 20100-076

Defendant’s lV|ai|ing Address:
5848 Hickory Shadow Lane
Memphis, TN 38141

   

BERNlcE B. DONALD
uNlTED sTATEs DlSTR|CT JUDGE

August 2& , 2005

Thls document entered on the docket sheet in compliance
with eula ;-: ami/or 32(b) Fech on ' ~ ’

AM/

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Case No: 2:04CR20471-01-D Defendant Name: Maria BURKS Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of Time Served.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:04CR20471-01-D Defendant Name: Maria BURKS Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the nrst Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controiled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20471-O1-D Defendant Name: Maria BURKS Page 4 of 5
law enforcement ofhcer;

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a iaw
enforcement agency without the permission of the court;

11. As directed b y the p robation officer, the d efendant s hall n otify third parties of risks that m ay b e
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation ofhcer to make such notifications and to confirm the defendants compiiance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penaities sheet of this judgment.

ADD|TlONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Participate in the Home Detention program for a period of 8 Months. During this time,
defendant will remain at defendant’s place of residence except for employment and other
activities approved in advance by the defendant’s Probation Officer. Defendant will be
subject to the standard conditions of Home Detention adopted for use in the Western District
of Tennessee, which may include the requirement to wear an electronic monitoring device
and to follow electronic monitoring procedures specified by the Probation Officer. Further,
the defendant shall be required to contribute to the costs of services for such monitoring not
to exceed an amountdetermined reasonable by the Probation Officer based on ability to pay
(or availability of third party payment) and in conformance with the Probation Office’s S|iding
Scale for Electronic Monitoring Services.

2. Make full financial disclosure as requested by the probation officer.
3. Do not acquire any new financial obligations without the permission of the probation officer.
4. Make third party risk notification

5. Participate in substance abuse counseling/treatment as deemed appropriate by the
probation officer.

6. Cooperate in the collection of DNA as directed by the probation officer.

7. lVlaintain full-time employment

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CRiMlNAL MONETARY PENALT|ES

The defendantshali paythefo||owing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in fui| before the fifteenth day after the date of judgment. pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Tota| Fine Total Restitution
$100.00

The Special Assessment shall be due immediateiy.

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
ease 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

